                Case
OLF3 (Official Local    19-10782
                     Form 3)              Doc 26        Filed 05/06/19 Entered 05/06/19 11:23:40                     Desc Main
Effective December 1, 2017                               Document     Page 1 of 12
                                                      UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MASSACHUSETTS
In re ANDREW GREENHUT
                                                                                                   Case No. 19-10782
                                                                                                   Chapter 13

                     Debtor(s)

                                                                 CHAPTER 13 PLAN

Check one. This Plan is:
    Original
✔    First        Amended (Identify First, Second, Third, etc.)
    Postconfirmation (Date Order Confirming Plan Was Entered:                                  )
Date this Plan was filed: May 6, 2019


PART 1:                                                NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this
Plan, its provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11
of the United States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local
Bankruptcy Rules (“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with
your attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any
other provision of this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30)
days after the date on which the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an
amended or modified Plan, unless the Court orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for
the Debtor(s), and the Chapter 13 Trustee (the “Trustee”). The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed
or if it overrules an objection to confirmation. You have received or will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy
Court which sets forth certain deadlines, including the bar date for filing a Proof of Claim. To receive a distribution, you must file a Proof of
Claim.
TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed.
R. Bankr. P., and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30)
days after the date of the filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state
whether or not this Plan includes one or more of the following provisions. If you check the provision “Not Included,” if you check both
boxes, or if you do not check a box, any of the following provisions will be void if set forth later in this Plan. Failure to properly complete
this section may result in denial of confirmation of this Plan.

                          FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
         A limit on the amount of a secured claim, set out in Part 3.B.1, which
  1.1    may result in a partial payment or no payment at all to the secured        Included                        ✔   Not Included
         creditor.
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money
  1.2    security interest, set out in Part 3.B(3).
                                                                                    Included                        ✔   Not Included

  1.3    Nonstandard provisions, set out in Part 8.                                 Included                        ✔   Not Included

                                                                                                                                       Page 1 of 12
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PART 2:                                          PLAN   LENGTHPage
                                                  Document      AND   PAYMENTS
                                                                    2 of 12

A.          LENGTH OF PLAN:
     36 Months. 11 U.S.C. § 1325(b)(4)(A)(i)
✔    60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii)
                Months pursuant to 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:




B.          PROPOSED MONTHLY PAYMENTS:


                Monthly Payment Amount                                Number of Months


     +      -   $2,024.00                                             60


C.          ADDITIONAL PAYMENTS:


Check one.
 ✔ None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

   The Debtor(s) will make additional payment(s) to the Trustee, as specified below. Set forth the amount, source (e.g.,
   lump sums from sales/refinances, tax refunds), and date of each payment.



                Additional Payment Amount            Source                                 Date of Payment


     +      -


Total amount of Payments to the Trustee [B+C]:                                                         $ 121,440.00

This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.


PART 3:                                          SECURED CLAIMS
     None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.          CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.
     None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
 ✔   Any Secured Claim(s) in default shall be cured and payments maintained as set forth in 1 and/or 2 below.
Complete 1 and/or 2.

         (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

 Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders
 otherwise, the amount(s) of prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s)
 listed below. Unless the Court orders otherwise, if relief from the automatic stay is granted as to any collateral listed.
                                                                                                                      Page 2 of 12
              Case
 this paragraph,      19-10782
                 all payments paid Doc  26 thisFiled
                                   through      Plan 05/06/19      Entered
                                                     as to that collateral will05/06/19  11:23:40
                                                                                cease upon entry of theDesc
                                                                                                        order Main
                                                                                                              granting relief
 from stay.                                     Document         Page 3 of 12


            (a)       Secured Claim(s) (Principal Residence)

                Address of the Principal Residence:

                         The Debtor(s) estimates that the fair market value of the Principal Residence is: $



                   Name of Creditor                             Type of Claim                                      Amount of Arrears
                                                                (e.g., mortgage, lien)


     +      -



                                      Total of prepetition arrears on Secured Claim(s) (Principal Residence): $

            (b)       Secured Claim(s) (Other)

                                                                                   Description of Collateral
                   Name of Creditor             Type of Claim                                                               Amount of Arrears
                                                                                   (or address of real property)

     +      -




                                                        Total prepetition arrears on Secured Claim(s) (Other): $


                                            Total prepetition arrears to be paid through this Plan [(a) + (b)]: $


         (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):
 Contractual installment payments are to be paid directly by the Debtor(s) to the creditor(s). The Debtor(s) will maintain the
 contractual installment payments as they arise postpetition on the secured claims listed below with any changes required by
 the applicable contract and noticed in conformity with any applicable rules.


                   Name of Creditor                   Type of Claim                             Description of Collateral


     +      -      RTN Credit Union                   Automobile Loan                           2015 Honda Odyssey




B.          MODIFICATION OF SECURED CLAIMS:


Check one.
 ✔ None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.

     Secured Claim(s) are modified as set forth in 1, 2, and/or 3 below. Complete 1, 2, and/or 3 below.



                                                                                                                                            Page 3 of 12
              Case
      (1) REQUEST   19-10782
                  FOR VALUATION Doc  26 Filed
                                OF SECURITY,    05/06/19
                                             PAYMENT       Entered
                                                      OF FULLY       05/06/19
                                                               SECURED  CLAIMS,11:23:40 Desc Main
                                                                                AND MODIFICATION OF
                                           Document
          UNDERSECURED CLAIMS UNDER 11 U.S.C. § 506:      Page  4 of 12
       ✔    None. If “None” is checked, the rest of Part 3.B.1 need not be completed and may be deleted from this Plan.

The following Plan provisions of Part 3.B.1 are effective only if the box “Included” in Part 1, Line 1.1 is checked.

The Debtor(s) requests that the Court determine the value of the lien of the following secured claim(s). For each secured claim
listed below, the Debtor(s) states that the amount of the secured claim is as set out in the column headed “Secured Claim
Amount.” For each listed claim, the allowed amount of the secured claim will be paid in full with interest at the rate stated
below, and the creditor will retain its lien to the extent of the value of the lien securing the creditor's allowed secured claim.

Unless the Court orders otherwise, the amount of a modified secured claim held by a nongovernmental creditor, as described in
this Plan and treated below, is binding on the creditor and the Debtor(s) upon confirmation of this Plan, even if the creditor has
filed a Proof of Claim setting forth a different amount.

Unless the Court orders otherwise, the amount of a secured claim of a governmental unit listed in an allowed Proof of Claim
controls over any contrary amount listed below. The amount of a secured claim of a governmental unit may NOT be determined
through this Plan.

An allowed claim of a creditor whose claim is secured by a lien on property in which the estate has an interest is a secured claim
to the extent of the value of the creditor's interest, and is an unsecured claim to the extent that the value of such creditor's
interest is less than the amount of the allowed claim. The portion of any allowed claim that exceeds the amount of the secured
claim will be treated as an unsecured claim in Part 5 of this Plan. If the secured claim amount is listed below as having NO value,
the creditor's allowed claim will be treated in its entirety as an unsecured claim in Part 5 of this Plan.

In the description of collateral, include the registry of deeds/land court recording information for any real property for which you
are modifying a secured claim.


                                      Description and Value of       Secured Claim     Amount of Senior    Interest
                Name of Creditor                                                                                    Total Claim
                                      Collateral                     Amount            Liens               Rate

  +        -



                                         Total Claim(s) under Part 3.B.1 to be paid through this Plan: $

      (2) SECURED CLAIMS EXCLUDED FROM 11 U.S.C. § 506:
      ✔    None. If “None” is checked, the rest of Part 3.B.2 need not be completed and may be deleted from this Plan.

 This section includes any claim(s) that was either (i) incurred within 910 days before the petition date and secured by a
 purchase-money security interest in a motor vehicle acquired for the personal use of the Debtor(s) or (ii) incurred within one
 year of the petition date and secured by a purchase-money security interest in any other thing of value. Such claim(s) will be
 paid in full through this Plan with interest at the rate stated below. Unless the Court orders otherwise, the claim amount
 stated on an allowed Proof of Claim controls over any contrary amount listed below.

 If you are treating the claim in Part 3.B.1 or 3.B.3, you should not include the claim in this section.
                Name of Creditor         Description of Collateral        Secured Claim Amount   Interest Rate   Total Claim


  +        -



                                         Total Claim(s) under Part 3.B.2 to be paid through this Plan: $
                                                                                                                               Page 4 of 12
                  Case 19-10782
         (3) LIEN AVOIDANCE       Doc
                            UNDER 11    26 § 522(f):
                                     U.S.C.  Filed 05/06/19               Entered 05/06/19 11:23:40          Desc Main
                                                      Document           Page 5 of 12
         ✔   None. If “None” is checked, the rest of Part 3.B.3 and Exhibits 3 and 4 need not be completed and may be deleted from
             this Plan.

The following Plan provisions of Part 3.B.3 are effective only if the box “Included” in Part 1, Line 1.2 is checked.

The judicial lien(s) and/or nonpossessory, nonpurchase-money security interest(s) securing the claim(s) listed below impairs
exemptions to which the Debtor(s) would have been entitled under 11 U.S.C. § 522(b).

Subject to 11 U.S.C. § 349(b), a judicial lien or nonpossessory, nonpurchase-money security interest securing a claim listed
below will be avoided to the extent that it impairs such exemptions upon entry of the Order confirming this Plan. The amount of
the judicial lien or nonpossessory, nonpurchase-money security interest that is avoided will be treated as a nonpriority
unsecured claim in Part 5 if a Proof of Claim has been filed and allowed. The amount, if any, of the judicial lien or
nonpossessory, nonpurchase-money security interest that is not avoided will be paid in full as a secured claim under this Plan
provided a Proof of Claim is filed and allowed.

For each judicial lien that the Debtor(s) seeks to avoid, the Debtor(s) shall include the information below. The Debtor(s) also shall
complete the chart set forth in Exhibit 3 to this Plan and shall attach to Exhibit 3 a true and accurate copy of the document
evidencing such judicial lien as filed or recorded with filing or recording information included. The Debtor(s) shall include the
evidentiary basis for the valuation asserted. For each judicial lien that the Debtor(s) seeks to avoid, the Debtor(s) shall provide a
proposed form(s) of order as Exhibit 4 conforming to Official Local Form 21A. If the Debtor(s) is avoiding more than one lien, the
Debtor(s) shall provide the information in a separate table in Exhibit 3 for each lien, and identify the tables as Exhibit 3.1, 3.2,
etc.

The claim(s) identified below must also be set forth in Exhibit 3.

                                                 Exhibit Table
                  Name of Creditor
                                                 (e.g., 3.1, 3.2, 3.3)

     +       -



                                           Total Claim(s) under Part 3.B.3 to be paid through this Plan: $


C.           SURRENDER OF COLLATERAL:

Check one.
✔    None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.
     The Debtor(s) elects to surrender to each creditor listed below the collateral that secures the creditor's claim.
     The Debtor(s) requests that, upon confirmation of this Plan, the stay under 11 U.S.C. § 362(a) be terminated as to the
     collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed unsecured claim(s)
     resulting from the disposition of the collateral will be treated in Part 5 of this Plan.


                  Name of Creditor             Type of Claim                 Description of Collateral


     +       -




PART 4:                                            PRIORITY CLAIMS
                                                                                                                          Page 5 of 12
Check one.     Case 19-10782            Doc 26   Filed 05/06/19 Entered 05/06/19 11:23:40             Desc Main
                                                  Document     Page 6 of 12
     None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.
✔    The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise,
     the amount of the priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.



A.       DOMESTIC SUPPORT OBLIGATIONS:

               Name of Creditor             Description of Claim                                    Amount of Claim


     +   -



B.       OTHER PRIORITY CLAIMS (Except Administrative Expenses):

               Name of Creditor             Description of Claim                                     Amount of Claim


     +   -     Internal Revenue Service     2018 Federal Income Tax Liability                        $4,152.00


     +   -     Mass. Dept. of Revenue       2018 State Income Tax Liability                          $291.00



Total Priority Claim(s) (except Administrative Expenses) to be paid through this Plan [A + B]:       $ 4,443.00


C.       ADMINISTRATIVE EXPENSES:

         (1)      ATTORNEY'S FEES:

               Name of Attorney                                                               Attorney's Fees


     +   -



If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount
exceeding that sum until such time as the Court approves a fee application. If no fee application is approved, any plan payments
allocated to attorney's fees in excess of MLBR Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.


         (2)      OTHER (Describe):




Total Administrative Expenses (excluding the Trustee's Commission) to be paid through this Plan [(1 ) + (2)]: $


         (3)      TRUSTEE'S COMMISSION:

The Debtor shall pay the Trustee's commission as calculated in Exhibit 1.

The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth
in Exhibit 1, Line (h) utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional
funds collected by the Trustee, after payment of any allowed secured and priority claim(s), and administrative expense(s).
                                                                                                                    Page 6 of 12
provided for inCase   19-10782
                this Plan,            Doc 26to nonpriority
                           shall be disbursed  Filed 05/06/19      Entered
                                                           unsecured creditors05/06/19  11:23:40
                                                                               up to 100%             Desc
                                                                                          of the allowed    Main
                                                                                                         claims.
                                                       Document         Page 7 of 12


PART 5:                                              NONPRIORITY UNSECURED CLAIMS
Check one.
     None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
✔    Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below.
     Only a creditor holding an allowed claim is entitled to a distribution.

             Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $                       ,
             which the Debtor(s) estimates will provide a dividend of        %.
         ✔   Fixed Percentage: each creditor with an allowed claim shall receive no less than 27.17 % of its allowed claim.



A.           GENERAL UNSECURED CLAIMS:                                                                    $ 385,787.24



B.           UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:


                     Name of Creditor            Description of Claim                                         Amount of Claim


     +       -


C.           NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):


                     Name of Creditor            Description of Claim                                         Amount of Claim


     +       -



D.               CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:


                     Name of Creditor            Description of Claim                                         Amount of Claim


     +       -




E.               TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:

                 The amount paid to any nonpriority unsecured creditor(s) is not less than that required under the
                 Liquidation Analysis set forth in Exhibit 2.


                                                        Total Nonpriority Unsecured Claims [A + B + C + D]: $ 385,787.24

                       Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed
                                                                          Percentage and enter that amount: $ 104,835.00
                                                                                                                              Page 7 of 12
                  Case 19-10782        Doc 26       Filed 05/06/19 Entered 05/06/19 11:23:40                  Desc Main
                                                     Document     Page 8 of 12


 F.           SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):


                                                                                                                     Basics of Separate
                 Name of Creditor       Description of Claim               Amount of Claim      Treatment of Claim
                                                                                                                     Classification

     +    -


                           Total of separately classified unsecured claim(s) to be paid through this Plan: $


PART 6:                                            EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.
      None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.
✔     The executory contract(s) and unexpired leases listed are assumed and will be treated as specified below.
      Any other executory contract(s) and/or unexpired lease(s) is rejected. Postpetition contractual payments will be made
      directly by the Debtor(s). Arrearage payments will be disbursed by the Trustee.



A.        REAL PROPERTY LEASES:

                 Name of Creditor              Lease Description                                                Arrears

                                               Residential Lease of Real Property scheduled to expire on
     +    -      Christopher and Andrea Haas                                                                    $0.00
                                               11/14/2019


B.        MOTOR VEHICLE LEASES:

                 Name of Creditor              Lease Description                                                Arrears


     +    -



C.        OTHER CONTRACTS OR LEASES:


                 Name of Creditor              Lease Description                                                Arrears


     +    -


                                                    Total amount of arrears to be paid through this Plan: $



PART 7:                             POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE
If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the
Debtor(s) does not receive a discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13
                                                                                                                               Page 8 of 12
              Case
Standing Trustee's   19-10782
                   Final Report andDoc 26 and
                                   Account  Filed 05/06/19
                                              the closing of the Entered
                                                                 case or (ii)05/06/19
                                                                              dismissal of11:23:40
                                                                                           the case.      Desc Main
                                                    Document        Page 9 of 12

PART 8:                                            NONSTANDARD PLAN PROVISIONS
Check one.
✔   None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
    This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision
    must be set forth below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not
    otherwise included in Official Local Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth
    elsewhere in this Plan are ineffective. To the extent the provisions in Part 8 are inconsistent with other provisions of this Plan,
    the provisions of Part 8 shall control if the box "Included" is checked in Part 1, Line 1.3.

The following Plan provisions are effective only if the box “Included” in Part 1, Line 1.3 is checked.




PART 9:                                            SIGNATURES
By signing this document, the Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits
filed as identified below.

By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the
wording and order of the provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits
identified below, other than any Nonstandard Plan Provisions in Part 8.


    /s/Andrew Greenhut                                                                          May 6, 2019
    Debtor                                                                                     Date



    Joint Debtor                                                                               Date


     /s/Richard N. Gottlieb, Esq.

    Signature of attorney for Debtor(s)                                                        Date
    Print name: Richard N. Gottlieb, Esq.
    BBO Number (if applicable): 547970
    Firm Name (if applicable): Law Offices of Richard N. Gottlieb
    Address: Ten Tremont Street, Suite 11, 3rd Floor
    Address (line 2): Boston, MA 02108
    Telephone: 617-742-4491
    E-mail Address: rnglaw@verizon.net




The following Exhibits are filed with this Plan:
✔   Exhibit 1: Calculation of Plan Payment*
✔   Exhibit 2: Liquidation Analysis*
    Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**                                                         Page 9 of 12
                   Case 19-10782
       Exhibit 4: [Proposed]          Doc 26
                             Order Avoiding       Filed 05/06/19
                                            Lien Impairing         Entered 05/06/19 11:23:40
                                                           Exemption**                                    Desc Main
                                                           Document             Page 10 of 12



                 List additional exhibits if applicable.

   +      -


 *Denotes a required Exhibit in every plan
 **Denotes a required Exhibit if the box “Included” is checked in Part 1, Line 1.2.


Total number of Plan pages, including Exhibits: 12




                                                                        EXHIBIT 1
                                                    CALCULATION OF PLAN PAYMENT

 a)       Secured claims (Part 3.A and Part 3.B.1-3 Total):                                      $ 0.00

 b)       Priority claims (Part 4.A and Part 4.B Total):                                         $ 4,443.00

 c)       Administrative expenses (Part 4.C.1 and Part 4.C.2 Total):                             $ 0.00

 d)       Nonpriority unsecured claims (Part 5.E Total):                                         $ 104,835.00

 e)       Separately classified unsecured claims (Part 5.F Total):                               $ 0.00

 f)      Executory contract/lease arrears claims (Part 6 Total):                                 $ 0.00

 g)       Total of (a) +(b) + (c) + (d) + (e) + (f):                                             $ 109,278.00

 h)       Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                  $ 121,420.00

  i)      Divide (h), Cost of Plan, by term of Plan,            60              months:          $ 2,023.67

  j)      Round up to the nearest dollar amount for Plan payment:                                $ 2,024.00



If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete
(a) through (h) only and the following:




 k)       Enter total amount of payments the Debtor(s) has paid to the Trustee:                  $

 l)       Subtract line (k) from line (h) and enter amount here:                                 $

 m)       Divide line (l) by the number of months remaining (                         months):   $


                                                                                                                      Page 10 of 12
              Case 19-10782            Doc 26       Filed 05/06/19         Entered 05/06/19 11:23:40          Desc Main
 n)   Round up to the nearest dollar amount for amended PlanPage
                                             Document       payment:
                                                                 11 of 12                           $



Date the amended Plan payment shall begin:




                                                                  EXHIBIT 2
                                                       LIQUIDATION ANALYSIS


 A. REAL PROPERTY


             Address                                 Value                       Lien                        Exemption
             (Sch. A/B, Part 1)                      (Sch. A/B, Part1)           (Sch. D, Part 1)            (Sch. C)

  +    -



 Total Value of Real Property (Sch. A/B, line 55):                                                  $ 0.00

 Total Net Equity for Real Property (Value Less Liens):                                             $ 0.00

 Less Total Exemptions for Real Property (Sch. C):                                                  $ 0.00

                                               Amount Real Property Available in Chapter 7:         $ 0.00




 B. MOTOR VEHICLES

             Make, Model and Year                    Value                       Lien                        Exemption
             (Sch. A/B, Part 2)                      (Sch. A/B, Part 2)          (Sch. D, Part 1)            (Sch. C)

  +    -     2001 Lincoln LS                         $1,864.00                   0.00                        $1,864.00


  +    -     2015 Honda Odyssey                      $21,866.00                  $7,253.70                   $7,500.00



 Total Value of Motor Vehicles (Sch. A/B, line 55):                                                 $ 23,730.00

 Total Net Equity for Motor Vehicles (Value Less Liens):                                            $ 16,476.30

 Less Total Exemptions for Motor Vehicles (Sch. C):                                                 $ 9,364.00

                                              Amount Motor Vehicle Available in Chapter 7:          $ 7,112.30




 C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)
                                                                                                                          Page 11 of 12
            Case 19-10782               Doc 26         Filed 05/06/19 EnteredLien
                                                                               05/06/19 11:23:40 Exemption
                                                                                                   Desc Main
           Asset                                        Value
                                                        Document     Page 12 (Sch.
                                                                             of 12D, Part 1)     (Sch. C)
           Furniture, Electronics, Jewelry, Sporting
 +    -    Equip., Pets, Clothing and Other             $12,000.00            0.00                      $12,000.00
           Personalty

 +    -    Cash and Bank Accounts                       $15,709.15            0.00                      $8,630.36


 +    -    Fidelity Brokerage Account                   $6,932.49             0.00                      $405.64


 +    -    Schwab IRS                                   $4,623.46             0.00                      $4,623.46


 +    -    Security Deposits and Retainers              11,855.00             0.00                      $0.00


 +    -    TD Ameritrade Account                        $877.53               $0.00                     $0.00



Total Value of All Other Assets:                                                               $ 51,997.63

Total Net Equity for All Other Assets (Value Less Liens):                                      $ 51,997.63

Less Total Exemptions for All Other Assets:                                                    $ 25,659.46

                                          Amount of All Other Assets Available in Chapter 7:   $ 26,338.17



D. SUMMARY OF LIQUIDATION ANALYSIS


                                Amount available in Chapter 7                                                   Amount

A. Amount of Real Property Available in Chapter 7 (Exhibit 2, A)                               $ 0.00

B. Amount of Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                              $ 7,112.30

C. Amount of All Other Assets Available in Chapter 7 (Exhibit 2, C)                            $ 26,338.17




                                                                     TOTAL AVAILABLE IN CHAPTER 7: $ 33,450.47



E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




                                                                                                                         Page 12 of 12
